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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )
       v.                              )      CRIMINAL ACTION NO.
                                       )         2:11cr191-MHT
WILLIE PEREZE BOGGAN                   )            (WO)


                           OPINION AND ORDER

       This cause is before the court on concerns raised by

the     magistrate      judge    about       defendant      Willie    Pereze

Boggan’s competence throughout this case, including at

sentencing.        Upon consideration of the representations

made     during    an   August    3,       2012,    hearing,    Boggan     was

ordered to undergo a mental-health evaluation.                    A copy of

that     evaluation,      prepared     by     Dr.    Karl    Kirkland,     was

received by the court on August 9, 2012.                    After reviewing

the evaluation, considering the oral representations by

the parties made during a hearing on August 15, 2012, and

observing       Boggan      throughout        the     course     of   these

proceedings, the court finds that Boggan is competent as

to all proceedings.           Dr. Kirkland concluded that Boggan
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“does not suffer from a mental illness or intellectual

impairment that would prevent him from understanding and

assisting [his attorney]” in preparing a defense and that

he     “is   capable     of    understanding       the    charges         and

proceeding to a dispositional hearing and/or trial.”

That    conclusion      is    of    particular    importance      in      the

court’s determination that Boggan is competent.

       The   court    therefore       finds    that    Boggan    is       not

“suffering from a mental disease or defect rendering him

... unable to understand the nature and consequences of

the proceedings against him or to assist properly in his

defense.”      18 U.S.C. § 4241(d).

                                     ***

       Accordingly,      it    is    ORDERED     and     DECLARED      that

defendant Willie Pereze Boggan is mentally competent as

to all proceedings in this case.

       DONE, this the 20th day of August, 2012.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
